                                                 EXHIBIT H

Case: 20-04021   Doc# 11   Filed: 03/04/20   Entered: 05/01/20 16:26:44   Page 1 of 17
                                                                                                              FILED
                                                                                                              Merced Superior Court
                                                                                                              6/8/2018 9:17 AM
                                                                                                              Linda Romero Soles
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                                                                                                              Clerk of the Superior Court
                                                                                                              By: Nengsy Moua, Deputy




                                                     Case: 20-04021   Doc# 11   Filed: 03/04/20   Entered: 05/01/20 16:26:44   Page 2 of 17
                                                                                 1            2.        CROSS—DEFENDANT also fully denies that by reason of any action or
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                                                                             2       omission, fault, conduct or liability on the part of CROSS-DEFENDANT, as alleged in the

                                                                                3    cross-complaint or otherwise, that CROSS-COMPLAINANTS were injured or damaged

                                                                             4       in the   amount or amounts alleged, or in any manner or amount whatsoever.

                                                                             5                3.        Further,    CROSS—DEFENDANT denies that CROSS—COMPLAINANTS are
                                                                             6       entitled to relief sough within its cross-complaint or to any relief whatsoever.


                                                                             7             AFFIRMATIVE DEFENSES AS TO EACH AND EVERY CAUSE OF ACTION
                                                                             8                                           FIRST AFFIRMATIVE DEFENSE

                                                                             9                            (Contract Unenforceablellnvalid — Unconscionability)

                                                                            1C                4.   CROSS—DEFENDANT               alleges      that     the    agreement         attached    to    the   first


                                                                            11       amended cross-complaint is unenforceable, invalid, and/or construction and application

                                                                            12       of the contract should be limited to avoid an unconscionable result including but without

                                                                            13       limitation the following: the gross disparity in the parties bargaining                     power, the failure of

                                                                            l4       the   CROSS-COMPLAINANTS to provide any consideration,                                 that the       services and

                                                                           15        payment       by    the    CROSS-COMPLAINANTS                      to     the    CROSS-DEFENDANT was
                                                                           16        substantially inferior to what a reasonable person or the standard of the industry would

                                                                           17        agree to in that any performance by the CROSS-DEFENDANT would be unconscionable

                                                                           18        and unenforceable under public policy.                 By example and without limitation, CROSS-

                                                                           19        COMPLAINANTS              and    their   agents   took          improper    and     unethical      actions    and/or

                                                                           2C        procedures against public policy in entering into the purported agreement with CROSS-

                                                                           21        DEFENDANT            by   having     CROSS-COMPLAINANTS                         attorney    of    record     contact,

                                                                           2:2       communicate with, and/or negotiate the agreement to resolve pending litigation with the

                                                                           23        CROSS-DEFENDANT directly without the presence, ccmsent, or even any notice to
                                                                           24        CROSS-DEFENDANTS known attorney of record, constituting ethical violations and
                                                                           2:5       manifesting    an     unfair    advantage    in   entering        into   the agreement against              CROSS—
                                                                           26        DEFENDANT under applicable legal authority or as defined under California Civil Code
                                                                           2’7       section 1575 and California Welfare and Institutes                      Code section 15610.70 and related
                                                                           28        authority, and     CROSS—DEFENDANT was othenlvise misled, lacked pertinent information,
                                                     Cyril Lawrrncr. Inn
                                                      21H   'K STREET
                                                     MERCED, CA 95340                                                                      __ 2 __
                                                       (2093836854
                                                                                                                   ANSWER T0 FIRST AMENDED CRoss—COMPLAINT.
                                                                        Case: 20-04021              Doc# 11          Filed: 03/04/20    Entered: 05/01/20 16:26:44                    Page 3 of 17
                                                                                 1   and/or had a misunderstanding of the terms, obligations or results in entering                                   into the
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                                                                                2    agreement         without     notice       to    his    attorney       of     record    and     otherwise,      CROSS-
                                                                                3    COMPLAINANTS took advantage of the CROSS—DEFENDANT with excessive one—
                                                                               4     sided terms that unreasonably favored the                           CROSS-COMPLAINANTS and terms that
                                                                                5    were overly harsh and oppressive to CROSS-DEFENDANT.

                                                                               6                                           SECOND AFFIRMATIVE DEFENSE
                                                                               7                             (Contract Unenforceablellnvalidl — Undue Influence)

                                                                               8               5.    CROSS—DEFENDANT                  alleges     that      the    agreement attached          to    the    first


                                                                               9     amended cross-complaint is unenforceable, invalid, and/or construction and application

                                                                           10        of the contract should              be   limited to avoid       an improper and/or unconscionable                  result

                                                                           11        because the contract was entered into as the result of undue influence, in violation of

                                                                           12        elder abuse and dependent adult prevention laws, lack of consideration, and other

                                                                           H
                                                                               L2)
                                                                                     improper and unethical actions that would                      make the agreement unenforceable and/or
                                                                           14        unconscionable.           By example and without limitations,                    CROSS-COMPLAINANTS and
                                                                          15         their   agents took          improper actions and/or procedures                        in   entering   into    purported

                                                                          16         agreement with CROSS—DEFENDANT by having CROSS—COMPLAINANTS attorney of

                                                                          l7         record contact, communicate with, and/or negotiate the agreement to resolve pending

                                                                          l8         litigation     with the CROSS—DEFENDANT directly without the presence, consent, or even

                                                                          19         any notice       to    CROSS—DEFENDANTS known attorney of record, constituting ethical
                                                                          20         violations      and manifesting an unfair advantage in entering into the agreement against

                                                                          21         CROSS-DEFENDANT under applicable legal authority or as otherwise defined under
                                                                          22         California Civil       Code section 1575 and California Welfare and Institutes Code section

                                                                          23         15610.70 and related               authority,   and     CROSS-DEFENDANT was otherwise exploited,
                                                                          24         misled,      lacked    pertinent information,           and/or had a misunderstanding of the terms,

                                                                          2.5        obligations or results        in    entering into the agreement without notice to or consent from

                                                                          26         CROSS—DEFENDANT’S                     attorney     of    record        and     CROSS—COMPLAINANTS                     took

                                                                          27         advantage         of   the    CROSS—DEFENDANT                       with     excessive      one-sided     terms       that


                                                     Cynl Lawrmce, Inc.
                                                                          28         unreasonably favored               the   CROSS-COMPLIANANTS                      and were overly harsh                and
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                                                     MERCED‘CA 95340                                                                           __ 3 __
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                                                                                                             ANSWER TO FIRST AMENDED CROSS-COMPLAINT.
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                                                                                        1     oppressive to CROSS—DEFENDANT, and accordingly, the agreement is oppressive and
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                                                                                       2     should be unenforceable.

                                                                                       3                                            THIRD AFFIRMATIVE DEFENSE
                                                                                       4             (Contract Unenforceablellnvalid — Fraud, Deceit, and Misrepresentation)

                                                                                       5              6.   CROSS—DEFENDANT                    alleges    that     the    agreement      attached       to   the    first


                                                                                       6     amended        cross-complaint           is   void,   unenforceable,         invalid,   and/or    construction        and

                                                                                       7     application ofthe contract should be limited to avoid an improper and/or unconscionable

                                                                                       8     result because        CROSS-DEFENDANT was induced, unduly influenced, persuaded, and
                                                                                       9     engaged to act in reliance and enter into the agreement attached to the first amended

                                                                                  10         cross-complaint because the contract was entered into as the result of fraud, deceit

                                                                                  11         and/or    intentional       or    negligent      misrepresentation           and   concealments        by      CROSS—
                                                                                  12         COMPLAINANTS and their agents.                          By example and without                limitations,     CROSS-
                                                                                  13         COMPLAINANTS and their agents took improper actions; and/or procedures in entering
                                                                                  14         into     purported       agreement            with     CROSS—DEFENDANT                   by      having        CROSS-
                                                                                  15         COMPLAINANTS attorney of record contact, communicate with, and/or negotiate the
                                                                                  16         agreement to resolve pending litigation with the CROSS—DEFENDANT directly without

                                                                                  I7        the presence, consent, or even any notice to CROSS-DEFENDANTS known attorney of

                                                                                  1‘8        record, constituting ethical violations               and manifesting an unfair advantage in entering

                                                                                  19        into    the agreement against              CROSS—DEFENDANT under applicable authority or as
                                                                                  2C        othewvise defined under California Civil Code section 1575 and California Welfare and

                                                                                 21         Institutes     Code section 15610.70 and related authority, and CROSS—DEFENDANT was
                                                                                 22         otherwise misled, lacked pertinent information, and/or had a misunderstanding of the

                                                                                 23         terms, obligations or results             in   entering into the agreement without notice to                    CROSS-
                                                                                 24         DEFENDANTS             attorney      of    record      and   othenlvise,       CROSS—COMPLAINANTS                     took

                                                                                 25         advantage        of    the    CROSS-DEFENDANT                      with     excessive    one-sided      terms         that

                                                                                 26         unreasonably          favored     the     CROSS-COMPLIANANTS                    and were overly            harsh      and
                                                                                 27"        oppressive to CROSS-DEFENDANT.

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                                                     Mskcun. CA 95340
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                                                                                                                         ANSWER TO FIRST AMENDED CROSS-COMPLAINT.
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                                                                                    1                                    FOURTH AFFIRMATIVE DEFENSE
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                                                                                   2                                (Contract Unenforceable/lnvalid -- Mistake)

                                                                                    3              7.    CROSS-DEFENDANT          alleges    that    the    agreement attached           to    the   first


                                                                                   4     amended cross—complaint is unenforceable, invalid, and/or construction and application

                                                                                   5     of the contract should        be   limited to avoid   an improper and/or unconscionable                  result

                                                                                   6     because the contract was entered into as the result of a mistake of fact and law as to the

                                                                                  7      terms of the agreement.        By example and without limitations, CROSS—COMPLAINANTS

                                                                                  8      and     their   agents took improper actions and/or procedures entering                    into      purported

                                                                                  9      agreement with CROSS-DEFENDANT by having CROSS-COMPLAINANTS attorney of

                                                                               1(3       record contact, communicate with, and/or negotiate the agreement to resolve pending

                                                                               11        litigation     with the CROSS—DEFENDANT directly without the presence, consent, or even

                                                                               12        any notice       to   CROSS—DEFENDANTS known attorney of record, constituting ethical
                                                                               l3        violations      and manifesting an unfair advantage in entering into the agreement against

                                                                              l4         CROSS—DEFENDANT               under   applicable    authority      or   as   otherwise    defined       under
                                                                              15         California Civil      Code section 1575 and California Welfare and Institutes Code section
                                                                              16         15610.70,        and    CROSS—DEFENDANT was                 otherwiSe        misled,    lacked       pertinent

                                                                              l/         information,      and/or had a misunderstanding            of the terms,      obligations or results          in


                                                                              18        entering into the agreement without notice to CROSS-DEFENDANTS attorney of record

                                                                              1‘9       and otherwise, CROSS-COMPLAINANTS took advantage of the CROSS-DEFENDANT

                                                                              20        with      excessive       one-sided    terms    that       unreasonably        favored     the        CROSS-
                                                                              21        COMPLIANANTS and were overly harsh and oppressive to CROSS-DEFENDANT.
                                                                              222       CROSS—COMPLAINANTS were aware                    of the      fact   that   CROSS—DEFENDANT was
                                                                             23         operating under a mistake of fact and law as to the terms ofthe agreement alleged in
                                                                                                                                                                                                     the

                                                                             24         first   amended cross—complaint and CROSS-COMPLAINANTS recovery should be barred
                                                                             25         or diminished accordingly.

                                                                             26         ///



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                                                     Cyril Laurence. Inc.
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                                                     MERCEDCA 95340
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                                                       (200)333—6854

                                                                                                                    ANSWER TO FIRST AMENDED CROSS-COMPLAINT_
                                                                             Case: 20-04021               Doc# 11    Filed: 03/04/20    Entered: 05/01/20 16:26:44              Page 6 of 17
                                                                                                                  FIFTH AFFIRMATIVE DEFENSE
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                                                                                                        (Contract Unenforceablellnvalid -- Duress)

                                                                                      8.       CROSS-DEFENDANT alleges that the agreement attached to the first
                                                                             amended cross-complaint is unenforceable, invalid, and/or construction and application

                                                                             of the contract should          be   limited to avoid       an improper and/or unconscionable                 result

                                                                             because the contract was entered into as the result of duress and other improper actions

                                                                             that would make the agreement unenforceable and/or unconscionable.                              By example and
                                                                             without limitations,    CROSS-COMPLAINANTS and their agents took improper actions
                                                                             and/or procedures         in    entering    into    the    agreement     with     CROSS—DEFENDANT                by

                                                                             instigating     personal attacks against           CROSS-DEFENDANT and his family by posting
                                                                             private information to the public, going to the local district attorneys’ office and                     making

                                                                             false   allegations,   generating       financial     economic duress by             directly    and adversely

                                                                             effecting     CROSS-DEFENDANTS business and investment financial cash flow, making
                                                                             personal attacks on CROSS-DEFENDANTS character and reputation, having CROSS-

                                                                             COMPLAINANTS            attorney       of   record        communicate      with     and/or      negotiating     the

                                                                             agreements terms to resolve pending litigation with the CROSS—DEFENDANT directly

                                                                             without the presence, consent, or even any notice to                      CROSS-DEFENDANTS known
                                                                             attorney of record, and otherwise              CROSS-COMPLAINANTS took advantage of the
                                                                             CROSS-DEFENDANT in compelling CROSS-DEFENDANT to enter into the purported
                                                                             agreement attached to the first amended cross—complaint that CROSS-DEFENDANT

                                                                             would not have voluntarily agreed             to without suffering the            above referenced threats,
                                                                             intimidation,    undue influence, and extortion as the agreement itself had excessive one-

                                                                             sided terms that unreasonably favored the CROSS-COMPLAINANTS and were overly

                                                                             harsh and oppressive to CROSS—DEFENDANT.

                                                                                                                  SIXTH AFFIRMATIVE DEFENISE

                                                                                                    (Contract Unenforceablellnvalid - Repudiation)

                                                                                     9.    CROSS-DEFENDANT               alleges       that   the   agreement attached          t0   the    first


                                                                            amended cross-complaint is unenforceable, invalid, and/or construction and application
                                                     Cyril Lawrence. Inc.
                                                       2] ll “K, STREFF
                                                     MERCED, CA 95340
                                                                                                                                   __ 6 --
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                                                                                                       ANSWER TO FIRST AMENDED CROSS-COMPLATNT.
                                                                        Case: 20-04021       Doc# 11        Filed: 03/04/20       Entered: 05/01/20 16:26:44              Page 7 of 17
                                                                                       of the contract should        be   limited to avoid       an improper and/or unconscionable          result
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                                                                                Ix.)
                                                                                       because       CROSS—COMPLAINANTS                through        their   representations    and     conduct

                                                                                b)
                                                                                       demonstrated they repudiated the agreement attached to the first amended complaint

                                                                                       when    they failed to provide any consideration as promised,                   failed   to    perform as

                                                                                       promised, and otherwise failed to follow proper corporate board procedures to approve

                                                                                       or give notice of execution of the purported agreement.

                                                                                                                      SEVENTH AFFIRMATIVE DEFENSE
                                                                                                           (Contract Unenforceablellnvalid — Condition Precedent)

                                                                                               10.   CROSS-DEFENDANT alleges that his performance                       under the purported

                                                                            1C         agreement attached to the first amended complaint was conditioned upon the CROSS—

                                                                            11         COMPLAINANTS first performing an act or condition,                       including   but not limited to

                                                                            12         obtaining an appraisal to determine           payment to CROSS-DEFENDANT, and that such

                                                                            13         performance, act or condition incumbent on the CROSS—COMPLAINANTS never took

                                                                           l4          place or were performed and as a             result,    CROSS-DEFENDANT was not obligated to
                                                                           15          perform under the agreement or as otherwise referenced in Civil Code section 1498 or

                                                                           16          any other applicable authority.

                                                                                                                       EIGHTH AFFIRMATIVE DEFENSE
                                                                           18                                     (Illusory Contract — Lack of Consideration)

                                                                           19                 11.      CROSS-DEFENDANT alleges that there was inadequate and insufficient
                                                                           2C          consideration to support the enforcement of the agreement attached to the first amended

                                                                           21          cross-complaint as CROSS-DEFENDANT never received any services or payments as

                                                                           22          promised      and    the   services    and   payments         promised   are   vague     and    uncertain.

                                                                           23          Accordingly, the agreement is illusory and unenforceable.

                                                                           24                                             NINTH AFFIRMATIVE DEFENSE
                                                                           25                                                (Failure of Consideration)

                                                                           2‘6                12.     CROSS-DEFENDANT asserts that the services and payments promised
                                                                                       by the CROSS—COMPLAINANTS under the agreement were never provided or tendered

                                                                           28          prior to the filing of the first      amended     cross-complaint and/or that the services and
                                                     Cyril Lawrence, |ch
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                                                                                                            ANSWER TO FIRST AMENDED CROSS-COMPLAINT.
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                                                                                payments were substantially inferior t0 what a reasonable person 0r the standard of the
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                                                                                industry would agree to and accordingly, the agreement is unenforceable;

                                                                                                                     TENTH AFFIRMATIVE DEFENSE
                                                                                                                          (Assumption of Risk)

                                                                                        13.       CROSS-COMPLAINANTS were aware                            0f   and     appreciated      the    risks

                                                                               inherent in inducing, compelling, or othen/vise having the: CROSS—DEFENDANT confer,

                                                                               discuss, negotiate an agreement with               CROSS—COMPLAINANTS attorney of record to
                                                                               resolve pending          litigation   without the presence, consent, or even notice to                       CROSS-
                                                                               DEFENDANT’S known                   attorney   of record      and    in   further    inducing,     compelling,     or

                                                                          1C   othenNise       having      CROSS-DEFENDANT execute an                      alleged      agreement      to    resolve

                                                                               pending        litigation   with      CROSS-COMPLAINANTS                  attorney     of    record    without    the

                                                                               presence, consent, or even notice to CROSS—DEFENDANT’S known attorney of record.

                                                                               Such actions induced and otherwise put CROSS—DEFEN‘DANT in an unfair advantage in

                                                                               entering into the agreement but nevertheless                   CROSS-COMPLAINANTS assumed the
                                                                               risk of potential liability,       waiver and injuries by failing to take the necessary precautions

                                                                               in   entering into the purported agreement with                 CROSS-DEFENDANT by informing or
                                                                               receiving the consent of              CROSS—DEFENDANTS attorney prior to contact; CROSS—
                                                                               COMPLAINANTS assumption of the risk bars any recovely, or diminishes their recovery,
                                                                               to the extent that the damages alleged in the compfaint are attributed to their
                                                                                                                                                                                      assumption
                                                                               of those risks.


                                                                                                                  ELEVENTH AFFIRMATIVE DEFENSE
                                                                                                       (Contract UnenforceablelUnlawful — Elder Abuse)

                                                                                       14.       CROSS-DEFENDANT                alleges      that   at   all    times      relevant   herein,   the

                                                                               CROSS—COMPLAINANTS and their agents violated the Elder Abuse and Dependent
                                                                               Adult Civil Protection Act when they conspired directly and cumulatively in their
                                                                                                                                                                                            actions

                                                                               to take financial advantage of CROSS—DEFENDANT, who was 65
                                                                                                                                                                        years of age and in a
                                                                               vulnerable emotional state based on his age and suffering from significant
                                                                                                                                                          emotional

                                                     Cyril Lawrenm Inc.
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                                                                                                            ANSWER TO FIRST AMENDED CROSS-COMPLAINT.
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                                                                                  distress and anxiety, in entering into the agreement attached to the first amended cross—
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                                                                                  complaint.

                                                                                                           TWELVTH AFFIRMATIVE DEFENSE
                                                                                                               (lmproperlUnethicaI Actions)

                                                                                        15.    CROSS—DEFENDANT alleges that           if   CROSS-COMPLAINANTS suffered
                                                                                  any of the damages alleged    in   the cross-complaint, such    damages were proximately
                                                                                 caused by the improper actions and/or procedures taken by CROSS-COMPLAINANTS

                                                                                 or their agents and   employees in having CROSS-COM‘PLAINANTS attorney of record

                                                                                 confer and communicate with CROSS-DEFENDANT without the presence or consent of

                                                                                 CROSS-DEFENDANT’s counsel of record and in having CROSS-DEFENDANT execute
                                                                                 an alleged agreement to resolve pending litigation without notice or review by CROSS—

                                                                                 DEFENDANT’s counsel of record in an adverse and improper environment.

                                                                                                         THIRTEENTH AFFIRMATIVE DEFENSE
                                                                                                                     (Unjust Enrichment)

                                                                                        16.    CROSS—DEFENDANT alleges that CROSS—COMPLAINANTS are seeking
                                                                                 to recover more than they would     be entitled to recover in their request for damages and

                                                                                 CROSS-COMPLAINANTS should             be barred from recovery         in   the operative cross-

                                                                                 complaint under the doctrine of unjust enrichment.

                                                                                                        FOURTEENTH AFFIRMATIVE DEFENSE
                                                                                                        (Non-Negotiated Terms and Conditions)

                                                                                        17.    CROSS—DEFENDANT alleges that the contract attached to the cross-
                                                                                 complaint between   CROSS—DEFENDANT and CROSS—COMPLAINANTS were drafted
                                                                                 by   CROSS—COMPLAINANTS             and   CROSS-COMPLAI‘NANTS              attorney   of   record

                                                                                 communication and entered      into   the agreement to      resolve    pending   litigation   with

                                                                                 CROSS-DEFENDANT directly without consent or notice from CROSS—DEFENDANT'S
                                                                                 known attorney of record and ultimately, the agreement contained non-negotiated or

                                                                                 reviewed terms and conditions which exclusively benefitted CROSS-COMPLAINANTS
                                                                                                                                                                                 to


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                                                             nnnu,    Inc.
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                                                                                                      ANSWER TO FIRST AMENDED CROSS-COMPLAINT.
                                                                             Case: 20-04021    Doc# 11 Filed: 03/04/20 Entered: 05/01/20 16:26:44              Page 10 of
                                                                                                                     17
                                                                                   the detriment of CROSS-DEFENDANT at the time the contract was made and entered
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                                                                                   into and accordingly, should be unenforceable.


                                                                                                               FIFITEENTH AFFIRMATIVE DEIFENSE

                                                                                                            (Breach of Implied Covenant of Good Faith)

                                                                                            18.     CROSS-DEFENDANT alleges that CROSS—COMPLAINANTS are barred
                                                                                   from recovery on the first amended cross-complaint and each cause of action therein, as

                                                                                   CROSS—COMPLAINANTS breached the implied covenant of good faith and fair dealing
                                                                                   in failing to   perform their good faith obligation as required under the agreement upon

                                                                                   which the cross-complaint is based, including but not limited to obtaining an appropriate

                                                                                   financial appraisal concerning the amount to be paid to                  CROSS—DEFENDANT and such
                                                                                   breach and defect in performance excuses any performance by CROSS—DEFENDANT

                                                                                   and voids or othenNise makes the agreement unenforceable.

                                                                                                               SIXTEENTH AFFIRMATIVE DEFENSE
                                                                                                        (Performance Excused — Frustration of Purpose)

                                                                                            19.    CROSS-DEFENDANT alleges that all 0f his obligations as alleged in the
                                                                                  first   amended cross—complaint were excused or unenforceable by reason impracticability
                                                                                  of performance, frustration of purpose, prevention under Civil                    Code 1511, or otherwise
                                                                                  excused by an unexpected event and occurrence                             that   happened   that   prevented

                                                                                  CROSS—DEFENDANT             from   receiving   any reasonable benefit under the purported

                                                                                  agreement which the operative cross-complaint                       is   based, and enforcement of that

                                                                                  agreement would not allow the CROSS-DEFENDANT and/or the parties to receive the

                                                                                  benefit of the bargain.


                                                                                                             SEVENTEENTH AFFIRMATIVE DEFENSE
                                                                                                                                 (Waiver)

                                                                                           20.     CROSS—DEFENDANT          alleges            that   through      CROSS-COMPLAINANTS
                                                                                  actions and representations, they have waived their right t0 enforce and/or recover

                                                                                  under the agreement alleged in the first amended cross-complaint.

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                                                                                                            ANSWER TO FIRST AMENDED CROSS-COMPLAIN'IZ
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                                                                                    l                                  EIGHTEENTH AFFIRMATIVE DEFENSE
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                                                                                 k)
                                                                                                                                    (Equitable Estoppel)

                                                                                 DJ
                                                                                                  21.   CROSS-COMPLAINANTS are estopped from seeking relief therein due to
                                                                                 4      their own wrongful      and willful acts or omissions to incidents alleged in the first amended

                                                                                 {)1
                                                                                        cross-complaint where enforcement of the alleged agreement would lead to an unjust

                                                                                 6      result,     including    but     not    limited     to            CROSS-DEFENDANT’S           allegations       of

                                                                                 7      improper/unethical actions, undue influence and exploitation of CROSS-DEFENDANT.

                                                                                 8                                     NINETEENTH AFFIRMATIVE DEFENSE
                                                                                 9                                                        (Laches)

                                                                               10                 22.   The CROSS-COMPLAINANTS waited an unreasonably long time to file

                                                                                1]      their   cause of action for a remedy of specific performance in the amended complaint

                                                                               12       after the trial date was set and CROSS—DEFENDANT’S ability t0 defend this lawsuit has

                                                                               13       been severely prejudiced           due      to   this        unreasonable      delay   by   denying    CROSS-
                                                                               14       DEFENDANT access to discovery of defenses to that remedy.
                                                                               15                                      TWENTIETH AFFIRMATIVE DEFENSE
                                                                               16                                       (Failure to State a Cause of Action)

                                                                               17                 23.   The     allegations    in   the cross-complaint         fail    to   state facts   sufficient   to

                                                                               18       constitute a cause of action against answering CROSS-DEFENDANT.

                                                                               19                                  TWENTY-FIRST AFFIRMATIVE DEFENSE
                                                                               20                                          (Failure to Mitigate Damages)

                                                                               21                 24.   CROSS-DEFENDANT is informed and believes and thereon alleges that                               if



                                                                               22       CROSS—COMPLAINANTS had taken reasonable steps towards mitigating their losses
                                                                               23       and claimed damages (and they did not), including but not limited to failing to exercise

                                                                               24       reasonable diligence in managing KS Aviation, Inc. by increasing student enrollment and

                                                                               25       earning profits as experienced during the time periods CROSS—DEFENDANT managed

                                                                               26       KS Aviation, Inc. and in failing to obtain an appraisal concerning the amount to be paid
                                                                               27       to   CROSS—DEFENDANT under the agreement, and they have not, they would not have
                                                                               28       suffered the    damages they allegedly sustained by reason of CROSS-DEFENDANT’S
                                                     Cyril Lumen“, Inc.
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                                                     MERCED,CA 95340                                                                        __   1   1
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                                                                                                                  ANSWER To FIRST AMENDED CRoss—COMPLAINT.
                                                                               Case: 20-04021           Doc# 11        Filed: 03/04/20 Entered: 05/01/20 16:26:44                   Page 12 of
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                                                                                    alleged acts and omissions and CROSS—COMPLAINANTS right to recover damages is
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                                                                                    barred or diminished accordingly.

                                                                                                            TWENTY-SECOND AFFIRMATIVE DEFENSE
                                                                                                                            (Unclean Hands)

                                                                                            25.       CROSS—DEFENDANT             asserts        that    the   CROSS—COMPLAINANTS
                                                                                    committed a wrongdoing and this lawsuit is attempting to benefit from a wrongdoing and

                                                                                    accordingly, each and every cause of action alleged against CROSS-DEFENDANT                         in


                                                                                   the operative cross-complaint is barred in its entirety by the Doctrine of Unclean Hands.

                                                                                                              TWENTY-THIRD AFFIRMATIVE DEFENSE
                                                                              lC                                                 (De Minimis)

                                                                              1]            26.       CROSS-DEFENDANT alleges that any injuly to CROSS—COMPLAINANTS
                                                                              12   alleged    in   the cross-complaint and causes of actions therein,             was de minimum and
                                                                             l3    therefore not actionable.

                                                                             14                             TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                                                             15                                            (Lack of Standing)

                                                                             16             27.       CROSS-DEFENDANT             asserts       that    CROSS-COMPLAINANTS           lack

                                                                                   standing to bring this action, specifically CROSS-DEFENDANT is informed and
                                                                                                                                                                                 believes

                                                                             18    that CROSS-COMPLAINANTS have sold or assigned their shareholder
                                                                                                                                                                        interest, vacated

                                                                             1‘9   their   position    as the sole   director,    and/or have a          non-party to this action   as a
                                                                             2'3   partner/manager of       KS Aviation,   Inc.   and     further that the     CROSS-COMPLAINANTS
                                                                                   have not alleged      that they are the legal        owner of the alleged obligations under the
                                                                                   agreement attached to the operative cross-complaint or that they have a right to
                                                                                                                                                                                    bring

                                                                                   this action


                                                                                                              TWENTY-FIFTH AFFIRMATﬂVE DEFENSE

                                                                                                                                  (Offset)

                                                                                           28.      CROSS-DEFENDANT alleges that                if   CROSS-COMPLAINANTS sustained
                                                                                   any damage as a result of the conduct alleged in‘ the first amended cross-complaint,

                                                                                   which CROSS-DEFENDANT denies, then CROSS-DEFENDANT is
                                                     Cyril Lawrence, Inc.                                                                                           entitled to an offset
                                                       Zl II "K   STREL‘I’
                                                     MERCED, CA 95340
                                                       (209) 3834mm                                                                _-   12 __
                                                                                                            ANSWER TO FIRST AMENDED CROSS-COMPLAINT.
                                                                             Case: 20-04021         Doc# 11    Filed: 03/04/20 Entered: 05/01/20 16:26:44              Page 13 of
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                                                                                   for   any amounts previously paid      to     or received          by    CROSS-COMPLAINANTS, any
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                                                                             R.)
                                                                                   amounts previously paid or received that were not owed to CROSS-COMPLAINANTS,

                                                                             'u)
                                                                                   any amounts received by          CROSS-COMPLAINANTS                       that   were owed         to   CROSS-
                                                                                   DEFENDANT,         and/or any amounts owed by                CROSS-COMPLAINANTS to CROSS-
                                                                             k)!
                                                                                   DEFENDANT.
                                                                                                            TWENTY-SIXTH AFFIRMATIVE DEFENSE

                                                                                                                           (No Damages)

                                                                                            29.    CROSS—DEFENDANT alleges that                 if   CROSS-COMPLAINANTS allegations
                                                                                   in   the first amended complaint are true, which            CROSS—DEFENDANT denies, CROSS-
                                                                                   COMPLAINANTS has not suffered and is not entitled to any damages.
                                                                                                         TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                                                                                                     (Occurrences beyond CROSS-DEFENDANT’S Control)

                                                                                            30.    CROSS-DEFENDANT alleges that any and all damages,                          if   any, sustained

                                                                                   by     CROSS-COMPLAINANTS            were      proximately              caused    by      occurrences          and

                                                                                   circumstances beyond      CROSS-DEFENDANT control, thus barring or diminishing any
                                                                                   recovery by CROSS-COMPLAINANTS against CROSS-DEFENDANT.

                                                                                                          TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                                                                                                              (Not Responsible for Acts of DOES)

                                                                                           31.     CROSS-DEFENDANT          is    not      legallly    responsible     for    the    acts    and/or

                                                                                   omissions of CROSS-DEFENDANT named as                        DOES 11 through 25 in the operative
                                                                                   cross—complaint.

                                                                                                           TWENTY-NINTH AFFIRMATIVE DEFENSE
                                                                                                                       (Mutual Cancellation)

                                                                                           32.    CROSS-DEFENDANT        alleges        that    the    agreement attached             to   the    first


                                                                                   amended cross—complaint is unenforceable, invalid, and/or construction and application

                                                                                   of the contract should    be   limited to avoid       an improper and/or unconscionable                   result

                                                                                   because        CROSS--COMPLA|NANTS            and           CROSS—DEFENDANT,                    through       their


                                                     Cyril Lawrence, Inc.
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                                                                                                          ANSWER TO FIRST AMENDED CRIOSS-COMPLAINT.
                                                                            Case: 20-04021         Doc# 11 Filed: 03/04/20 Entered: 05/01/20 16:26:44                        Page 14 of
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                                                                                I    representations and conduct demonstrated they both cancelled the agreement and all
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                                                                            2        duties were excused.

                                                                            3                                         THIRTIETH AFFIRMATIVE DEFENSE

                                                                            4                                        (Contract Unenforceable— Rescission)

                                                                            5                  33.   CROSS—DEFENDANT                    alleges     that    the     agreement attached             to   the   first


                                                                            6        amended         cross-complaint         is   unenforceable because                 CROSS-DEFENDANT,                through

                                                                            7       their prior representations          and conduct demonstrated that, and through this answer to

                                                                            8       the      cross-complaint,    that        CROSS-DEFENDANT                   rescinded        the    agreement        prior   to

                                                                            9        receiving any consideration or reasonable value under the agreement under applicable

                                                                           1(2      authority or otherwise defined under Civil Code 1691.

                                                                           11                                    THIRTY-FIRST AFFIRMATIVE DEFENSE

                                                                           12                                    (Equitable Indemnity - Passive Conduct)

                                                                           13                  34.     The cross-complaint is barred against CROSS-DEFENDANT because the

                                                                           14       conduct and action of the                CROSS-DEFENDANT alleged in the cross-complaint was
                                                                           15       passive while the primary misconduct, negligence and fault of CROSS-COMPLAINANTS

                                                                          16        and/or their agents, whether                  named or not in the complaint, was active in that they
                                                                          17        personally        participated      in        the   affirmative        acts,        including     but    not    limited     to

                                                                          18        improper/unethical        actions        and undue influence against                      CROSS-DEFENDANT and
                                                                          19        otherwise CROSS-COMPLAINANTS were physically connected with acts of negligence,

                                                                          2C        omissions        and/or   concealments with              knowledge             of    or   acquiescence         of   CROSS-
                                                                          21        DEFENDANT therein and thus, CROSS-DEFENDANT is entitled to total, equitable
                                                                          22        indemnity from CROSS-COMPLAINANTS.

                                                                          23                                    THIRTY-SECOND AFFIRMATIVE DEFENSE
                                                                          24                                                            (Subordination)

                                                                          25                  35.      CROSS-COMPLAINANTS claims are subordinate to answering CROSS-
                                                                          2‘6       DEFENDANT claims in the operative complaint, and recovery under the cross-complaint,
                                                                          2‘7       if    any, should be allowed only after CROSS—DEFENDANT’S claim is satisfied.

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                                                                                                                ANSWER TO FIRST AMENDED CROSS-COMPLAINT
                                                                          Case: 20-04021              Doc# 11        Filed: 03/04/20 Entered: 05/01/20 16:26:44                             Page 15 of
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                                                                                                                     THIRTY-THIRD AFFIRMATIVE DEFENSE
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                                                                                                       (Absence of Probable CauselPresence of Malicious Intent)

                                                                                               36.     CROSS—DEFENDANT believes and thereon alleges the operative cross—
                                                                                   complaint is being prosecuting without probable cause and with malicious intent to justify

                                                                                   an award of reasonable defense attorneys fees and costs under CCP § 128.5.

                                                                                                                   THIRTY-FOURTH AFFIRMATIVE DEFENSE
                                                                                       (Breach of Agreement: Failure to Perform Conditions, Defect in Performance ect.)

                                                                                               37.     CROSS-DEFENDANT is informed and believes and thereon alleges that
                                                                                   CROSS-COMPLAINANTS are barred from enforcing the operative cross-complaint by
                                                                                   virtue      of    CROSS—COMPLAINANTS’ own                            breach of the agreement alleged therein

                                                                                   because CROSS-COMPLAINANTS have failed to timely or properly perform all or some

                                                                                   of    the    conditions,       covenants,    and     promises              and/or   was otherwise    defective   in


                                                                                   performance         of    their    contractual   and        legal        obligations   incumbent   upon   them   in


                                                                                   connection with the agreement including but not limited to obtaining an appraisal

                                                                                  concerning the amounts to be paid to the CROSS-DEFENDANT, and such failures and

                                                                                  defects in performance excuses any performance by CROSS—DEFENDANT‘

                                                                                                                     THIRTY-FIFTH AFFIRMATIVE DEFENSE

                                                                                                                           (No CostsIAttorneys’ Fees)

                                                                                            38.       CROSS-COMPLAINANTS have not alleged sufficient facts, and CROSS-
                                                                                  DEFENDANT has not engaged in any conduct, that entitles CROSS-COMPLAINANTS
                                                                                  to an award of attorneys’ fees or costs.


                                                                                                                     THIRTY-SIXTH AFFIRMATIVE DEFENSE

                                                                                                                            (Reservation of Defense)

                                                                                            39.       In   addition to the foregoing           and the other affirmative defenses set forth

                                                                                  herein, CROSS-DEFENDANT does not assume the burden of
                                                                                                                                                                          proving any fact, issue, or

                                                                                  element of a cause of action in the cross-complaint where such burden
                                                                                                                                                                                   properly belongs

                                                                                  to    CROSS-COMPLAINANTS.                  Further,     CROSS—COMPLAINANTS have set forth the
                                                                             28   causes       of action     in   the cross-complaint
                                                     Cyril Lawrrntr. lllc‘
                                                                                                                                                   in     conclusionary terms to permit      CROSS—
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                                                                                                                  ANSWER TO FIRST AMENDED CROSS-COMPLAINT.
                                                                             Case: 20-04021           Doc# 11        Filed: 03/04/20 Entered: 05/01/20 16:26:44                    Page 16 of
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                                                                                 1   DEFENDANT to discern and raise all appropriate defenses.                    Further, discovery has not
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                                                                                 2   yet   commenced, and on the basis of both. other affirmative defenses may become

                                                                                 3   known       or substantiated   and   CROSS-DEFENDANT hereby reserves the right to add
                                                                                 4   additional affirmative defenses and/or immunities that may be applicable.

                                                                                 5   WHEREFORE, this answering CROSS—DEFENDANT prays for judgment in his favor
                                                                                 6   and against CROSS—COMPLAINANTS as follows:

                                                                                 7           1.       That cross-complainants take nothing by their cross-complaint;

                                                                                 8           2        For all costs of suit herein;

                                                                                 9           3.       For attorneys’ fees incurred as applicable under law, contract or statute; &

                                                                             IC              4        For such other and further relief as the Court may deem just and proper.

                                                                             l   I




                                                                             ‘2      June 8, 2018                                           CYRIL LAWRENCE, INC.
                                                                                                                                            A PROFESSIONAL LAW CORPORATION
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                                                                                                                                                     BEISWANGER
                                                                                                                                            Attorney for Defendant DAN YOON.




                                                     Cyril Lawrence, Inc.
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                                                                                                            ANSWER TO FIRST AMENDED CROSS-CO‘MPLAINT.
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